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IN THE UNITED STATES DISTRICT COURT FOR THE 05 JUN l 3 AH l |: l 9

wEsTERN I)ISTRICT oF TENNESSEE ama a m ama

WESTERN DIVISION ,CLERI<. o.s. olsr. ~
‘-"\’ D- OF TN. MEI\,#P(§:'$

JUDY GLICK, )
)
Plaintifl`, ) Case No. 2:05cv2286
v. )
)
PATR]CIA G. MOORE and )
CARLA M. KETCHUM, )
)
Defendants. )

 

ORDER DENYING DEFAULT JUDGMENT

 

Plaintiff, Judy Glick, by and through Counsel, Stephen R. Lefller submitted motion for
default judgment against Defendant Patricia G. Moore. As grounds, Plaintiff states that Defendant(s)
has failed to answer / plead to complaint

Entry of Default may be entered when party whom a judgment is sought has failed to plead
or otherwise provided and fact is made to appear by affidavit or otherwise FRCVP 55 (a).

Default .Iudgment is therefore DENIED as there has been no Entry of Default as to the
Defendant(s).

Entered this 13th day of June, 2005.

ROBERT R. DI TROLIO
Clerl< of Court

Byr j’AJL/LAML/w//

l
y 3 Deputy']Clerk

Th\'s document entered on the docket sheet In compliance f ‘ v
with Rule 58 and;'or 79(3) FFiCP en fig 1551 §§ l @ /

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 6 in
case 2:05-CV-02286 was distributed by faX, mail, or direct printing on
June 13, 2005 to the parties listed.

 

Stephen R. Leffler
LEFFLER LAW OFFICE
707 Adams Ave.
l\/lemphis7 TN 38105

Honorable Bernice Donald
US DISTRICT COURT

